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 6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE
 8
      UNITED STATES OF AMERICA,
 9                                                    CASE NO. CR04-301P

10
                Plaintiff,                            PROPOSED FINDINGS OF
11                                                    FACT AND DETERMINATION
                  v.                                  AS TO ALLEGED VIOLATIONS
12                                                    OF SUPERVISED RELEASE
      ANGELA GAIL JOHNSON,
13
                Defendant.
14
15                                       INTRODUCTION
16           I conducted a hearing on alleged violations of supervised release in this case on
17   November 23, 2005. The United States was represented by Peter Mueller. The defendant
18   was represented by Tim Lohraff for Jim Vonasch. The proceedings were recorded on disk.
19
20                               CONVICTION AND SENTENCE
21           Defendant had been convicted of Conspiracy to Distribute Methamphetamine on or
22   about July 8, 2005. The Hon. Marsha J. Pechman of this court sentenced Defendant to 41
23   days of confinement, followed by 3 years of supervised release.
24           The conditions of supervised release included requirements that defendant comply
25   with the standard 13 conditions.
26   //
27   //
28
     PROPOSED FINDINGS
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 1                                   DEFENDANT'S ADMISSION
 2         USPO Christopher S. Luscher alleged that Defendant violated the conditions of
 3   supervised release in two respects:
 4         (1)    Failing to serve 139 days in a community corrections center and follow all
 5                rules and regulations of said program, on or about November 21, 2005, in
 6                violation of the special condition requiring her to reside in a CCC for 139
 7                days.
 8         (2)    Failing to submit to urinalysis testing on October 14 and November 14, 2005,
 9                in violation of the special condition that she submit urinalysis testing as
10                instructed by the probation officer.
11   At an initial hearing, I advised the defendant of these charges and of her/his constitutional
12   rights. At today’s hearing Defendant admitted the violations #1-2, waived any hearing as
13   to whether it occurred, and consented to having the matter set for a disposition hearing
14   before the Hon. Marsha J. Pechman
15
16                    RECOMMENDED FINDINGS AND CONCLUSIONS
17         Based upon the foregoing, I recommend the court find that Defendant has violated the
18   conditions of her/his supervised release as alleged; and set the matter for a disposition
19   hearing.
20         Defendant has been detained pending a final determination by the court.
21         DATED this 30th day of November, 2005.



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23
24                                                    MONICA J. BENTON
                                                      United States Magistrate Judge
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26
27   cc:   Sentencing Judge            :       Hon. Marsha J. Pechman
           Assistant U.S. Attorney     :       Peter Mueller
28         Defense Attorney            :       Jim Vonasch

     PROPOSED FINDINGS
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 1       U. S. Probation Officer    :     Christopher S. Luscher
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     PROPOSED FINDINGS
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